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 8                          UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
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11    MOLLY DIMON,                                        CASE NO. 13cv2028-LAB (BLM)
12                                      Plaintiff,        ORDER OF DISMISSAL
             vs.
13    I.C. SYSTEM, INC.,
14                                  Defendant.
15
16         The parties have jointly moved to dismiss this action with prejudice (Docket no. 6).

17   Pursuant to Fed. R. Civ. P. 41(a), this action is therefore DISMISSED WITH PREJUDICE.

18   The parties shall each bear their own costs and attorney’s fees.

19         IT IS SO ORDERED.

20   DATED: February 4, 2014

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22                                               HONORABLE LARRY ALAN BURNS
                                                 United States District Judge
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